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B7 (Official Form 7) (12/07)



                                           UNITED STATES BANKRUPTCY COURT
                                                                  Southern District of New York

In re:     Boaz Bagbag
           Debtor(s)                                                                                      Case No: _08-12667 (AJG)_

                                            STATEMENT OF FINANCIAL AFFAIRS
           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both
spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint
petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

            Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question, use and attach
a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                          DEFINITIONS

           "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the
following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a
limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of
this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or equity securities of a
corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.

    None             1. Income from employment or operation of business

                     State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
                     debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                     beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
                     years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
                     of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
                     fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
                     chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                     joint petition is not filed.)

                     AMOUNT                          SOURCE (if more than one)
                     $15,000                         YTD Income from Pace Product Solutions, Inc.
                     $65,825                         2007 Income from Pace Product Solutions, Inc. & VIP Car Services
                     $70,223                         2006 Income from Pace Product Solutions, Inc. & VIP Car Services



         None        2. Income other than from employment or operation of business
           ⌧
                     State the amount of income received by the debtor other than from employment trade or profession, or operation of the
                     debtor's business during the two years immediately preceding the commencement of the case. Give particulars. If a joint
                     petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state
                     income of both spouses whether or not a joint petition is filed, unless the spouses are separated, and a joint petition is not
                     filed.)

                     AMOUNT                          SOURCE
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            3. Payments to creditors

            Complete a. or b., as appropriate, and c.
None
 ⌧          a. Individual or joint debtors with primarily consumer debts: List all payments on loans, installment purchases of goods or
            services, and other debts, to any creditor made within 90 days immediately preceding the commencement of this case if the
            aggregate value of all property that constitutes or is affected by such transfer is not less than $600. Indicate with an asterisk
            (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
            repayment schedule under a plan by an approved nnonprofit budgeting and creditor counseling agency. (Married debtors
            filing under chapter 12 or chapter 13 must state payments by either or both spouses whether or not a joint petition is filed,
            unless the spouses are separated, and a joint petition is not filed.)
                                                          DATES OF PAYMENTS                                            AMOUNT STILL
            NAME AND ADDRESS OF CREDITOR                                                 AMOUNT PAID                   OWING



None
            b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
            days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
            affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that
            were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a
            plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
            13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
            spouses are separated and a joint petition is not filed.)

            NAME AND ADDRESS OF CREDITOR            DATES OF PAYMENTS             AMOUNT PAID                   AMOUNT STILL OWING
            RELATIONSHIP TO DEBTOR

            None known. Debtor reserves right to amend once complete bank statements are obtained.
None
            c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
            benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
            of either or both spouses whether or not a joint petition is filed, unless the spouses are separated, and a joint petition is not
            filed.)

             NAME AND ADDRESS OF CREDITOR           DATES OF PAYMENTS             AMOUNT PAID                   AMOUNT STILL OWING
             RELATIONSHIP TO DEBTOR

             None known. Debtor reserves right to amend once complete bank statements are obtained.




            4. Suits and administrative proceedings, executions, garnishments and attachments
None
            a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
            the filing of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or
            both spouses whether or not a joint petition is filed, unless the spouses are separated, and a joint petition is not filed.)
             CAPTION OF SUIT AND                    NATURE OF                     COURT/AGENCY                  STATUS OR
             CASE NUMBER                            PROCEEDING                    AND LOCATION                  DISPOSITION

             Autopart International, Inc., vs.      Breach of Contract            Civil Court of the City of    Pending
             Flash Sales, Inc. d/b/a Boaz                                         Yonkers, County of
             Bagbag; Index No. 2776/08                                            Westchester

             Flash Sales, Inc. vs. Boaz Bagbag,     Breach of Contract            Supreme Court of the          Judgment for Plaintiff
             et al; Index No. 3078/08                                             State of New York,
                                                                                  County of Westchester

             Summa Capital Corp. vs. Boaz           Breach of Contract            Supreme Court of the          Pending
             Bagbag, et al; Index No. 5998/08                                     State of New York,
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                                                                              County of Westchester

             B and N Realty Holding Corp. vs.     Foreclosure Proceeding      Supreme Court of the         Pending
             122 Street Slash, Boaz Bagbag, et                                State of New York,
             al; Index No. 3077/08                                            County of Westchester


             Boaz Bagbag vs. B and N Realty       Breach of Contract and      Supreme Court of the         Pending
             Holding Corp, et al; Index No.       Fraud                       State of New York,
             100830/08                                                        County of New York

             Pace Auto v. Boaz Bagbag;            Breach of Contract          Supreme Court of the         Judgment for Plaintiff
             Index No. 117042/2005                                            State of New York,
                                                                              County of New York

             Boaz Bagbag v. Flash Sales           Breach of Contract          Supreme Court of the         Pending
             Index No. 100830/2008                                            State of New York,
                                                                              County of New York

             Boaz Bagbag v. Flash Sales           Breach of Contract          Supreme Court of the         Pending
             Index No. 11085/2008                                             State of New York,
                                                                              County of Westchester

             Capital One Bank v. Boaz Bagbag      Collection Proceeding       Civil Court of the City of   Judgment for Plaintiff
             Index No. CV-011887-07/NY                                        Yonkers, County of New
                                                                              York

             Universal Auto Group v. Mazal        Collection Proceeding       Civil Court of the City of   Judgment for Plaintiff
             Hai Auto Parts, Boaz Bagbag                                      Yonkers, County of New
             Index No. CV-012018-07/NY                                        York

             JP Morgan Chase Bank, NA v.          Collection Proceeding       Supreme Court of the         Judgment for Plaintiff
             Mazal Hai Auto Parts, Boaz                                       State of New York,
             Bagbag                                                           County of Westchester
             Index No. 21569-07

             Citibank (South Dakota) v. Boaz      Collection Proceeding       Supreme Court of the         Judgment for Plaintiff
             Bagbag                                                           State of New York,
             Index No. 100292/07                                              County of New York

             Davies Auto Electric LTD v.          Breach of Contract          Supreme Court of the         Judgment for Plaintiff
             Mazal Hai Auto Parts, Boaz                                       State of New York,
             Bagbag                                                           County of Suffolk
             Index No. 06-14193

             Harlington Realty Co. LLC v.         Breach of Contract          Supreme Court of the         Pending
             Boaz Bag-Bag                                                     State of New York,
             Index No. 102189-06                                              County of New York

             Advanta Bank Corp. v. Boaz           Collection Proceeding       Supreme Court of the         Judgment for Plaintiff
             Bagbag and MHAP, Inc.                                            State of New York,
             Index No. 103046/07                                              County of New York


None
            b. Describe all property that has been attached, garnished, or seized under any legal or equitable process within one year
            immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
            information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
            separated, and a joint petition is not filed.)
             NAME AND ADDRESS OF PERSON           DATE OF                       DESCRIPTION AND VALUE OF PROPERTY
             FOR WHOSE BENEFIT PROPERTY           SEIZURE
             WAS SEIZED
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             Togut, Segal and Segal                07/24/2008                      All property of Pace located at 122 School Street,
             One Penn Plaza                                                        Yonkers, New York (Value: $1,500,000.00)
             New York, NY 10003

            5. Repossessions, foreclosures and returns
None
 ⌧          List all property that has been repossessed by a creditor, sold at foreclosure sale, transferred through a deed in lieu of
            foreclosure or returned to a seller within one year immediately preceding the commencement of this case. (Married debtors
            filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
            petition is filed, unless the spouses are separated, and a joint petition is not filed.)
             NAME AND ADDRESS               DATE OF REPOSSESSION, FORECLOSURE, SALE                    DESCRIPTION AND VALUE OF
             OF CREDITOR OR SELLER          TRANSFER OR RETURN                                         PROPERTY




            6. Assignments and receiverships
None
 ⌧          a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
            commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignments by either
            or both spouses whether or not a joint petition is filed, unless the spouses are separated, and a joint petition is not filed.)
             NAME AND ADDRESS OF ASSIGNEE          DATE OF ASSIGNMENT            TERMS OF ASSIGNMENT OR SETTLEMENT




None
            b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
            immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
            information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
            separated, and a joint petition is not filed.)
             NAME AND ADDRESS OF                    NAME, LOCATION OF COURT,            DATE OF ORDER        DESCRIPTION, VALUE OF
             CUSTODIAN                              CASE TITLE AND NUMBER                                    PROPERTY

             Togut, Segal and Segal                 United States Bankrutpcy Court      07/24/2008           All property of Pace
             One Penn Plaza                         for the Southern District of New                         located at 122 School
             New York, NY 10003                     York, 08-12666 (MG)                                      Street, Yonkers, New
                                                                                                             York (Value:
                                                                                                             $1,500,000.00)

            7. Gifts
None
 ⌧          List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
            ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and
            charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13
            must include gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are
            separated and a joint petition is not filed.)
             NAME AND ADDRESS OF PERSON            RELATIONSHIP TO               DATE OF GIFT                  DESCRIPTION AND VALUE
             OR ORGANIZATION                       DEBTOR, IF ANY                                              OF GIFT




            8. Losses
None
 ⌧          List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this
            case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by
            either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
            filed.)
             DESCRIPTION AND VALUE OF              DESCRIPTION OF CIRCUMSTANCES, AND IF LOSS WAS               DATE OF LOSS
             PROPERTY                              COVERED IN WHOLE OR IN PART BY INSURANCE, GIVE
                                                   PARTICULARS
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            9. Payments related to debt counseling or bankruptcy
None
            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
            consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy
            within one year immediately preceding the commencement of this case.
             NAME AND ADDRESS                           DATE OF PAYMENT, NAME OF PAYOR,          AMOUNT OF MONEY, OR DESCRIPTION
             OF PAYEE                                   IF OTHER THAN DEBTOR                     AND VALUE OF PROPERTY

             Law Offices of Daniel M. Katzner, PC       07/09/2008                               $3,000 (Pre-petition)
             1025 Longwood Avenue
             Bronx, NY 10459

            10. Other transfers
None
            a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
            debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
            (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a
            joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

             NAME AND RELATIONSHIP OF                                                    DESCRIBE PROPERTY TRANSFERRED
             TRANSFEREE; RELATIONSHIP TO                DATE                             AND VALUE RECEIVED
             DEBTOR

             Debtor’s Daughter                          05/2007                          Debtor’s 1/3 Interest in 122 School Street,
             (name intentionally withheld, can be                                        Yonkers, New York transferred pursuant to
             provided if required)                                                       Judgment of Divorce

            b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
            self-settled trust or similar device of which the debtor is a beneficiary.
None
 ⌧
             NAME OF TRUST OR OTHER                 DATE(S) OF TRANSFER(S)                AMOUNT OF MONEY OR DESCRIPTION AND
             DEVICE                                                                       VALUE OF PROPERTY OR DEBTOR’S INTEREST
                                                                                          IN PROPERTY




            11. Closed financial accounts
None
 ⌧          List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
            sold or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
            saving, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
            credit unions, pension funds, cooperatives, associations and brokerage houses and other financial institutions. (Married
            debtors filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by either or
            both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
             NAME AND ADDRESS OF                    TYPE OF ACCOUNT; LAST FOUR DIGITS OF             AMOUNT AND DATE OF SALE OR
             INSTITUTION                            ACCOUNT NUMBER, AND AMOUNT OF FINAL              CLOSING
                                                    BALANCE




            12. Safe deposit boxes
None
 ⌧          List each safe deposit or other box or depository in which the debtor has or had securities, cash or other valuables within
            one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
            must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
            separated and a joint petition is not filed.)
             NAME AND ADDRESS OF BANK            NAMES AND ADDRESSES OF          DESCRIPTION OF               DATE OF TRANSFER OR
             OR OTHER INSTITUTION                THOSE WITH ACCESS TO            CONTENTS                     SURRENDER, IF ANY
                                                 BOX OR DEPOSITORY
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            13. Setoffs
None
 ⌧          List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
            commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
            either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
            filed.)
             NAME AND ADDRESS OF CREDITOR                    DATE OF SETOFF                      AMOUNT OF SETOFF




            14. Property held for another person
None
 ⌧          List all property owned by another person that the debtor holds or controls.
                                                                                                               LOCATION OF PROPERTY
             NAME AND ADDRESS OF OWNER              DESCRIPTION AND VALUE OF PROPERTY




            15. Prior address of debtor
None
 ⌧          If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which
            the debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report
            also any separate address of either spouse.
             ADDRESS                                NAME USED                     DATES OF OCCUPANCY




            16. Spouses and Former Spouses
None
 ⌧          If the debtor resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California,
            Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately
            preceding the commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or
            resided with the debtor in the community property state.
             NAME




            17. Environmental Information

            For the purposes of this question, the following definitions apply:

                     An “Environmental Law” means any federal, state or local statute or regulation regulating pollution,
            contamination, releases of hazardous or toxic substances, wastes or materials into the air, land, soil, surface water,
            groundwater, or other medium, including but not limited to, statutes or regulations regulating the cleanup of these
            substances, wastes, or material.

                     A “Site” means any location, facility, or property as defined by any Environmental Law, whether or not presently
            or formerly owned or operated by the debtor, including but not limited to, disposal sites.

                    A ”Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance,
            hazardous material, pollutant, or contaminant or similar term under an Environmental Law.
None
 ⌧          a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it
            may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date
            of the notice, and , if known, the Environmental Law.
             SITE NAME AND ADDRESS        NAME AND ADDRESS OF                     DATE OF NOTICE               ENVIRONMENTAL LAW
                                          GOVERNMENTAL UNIT
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None
 ⌧          b. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it
            may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date
            of the notice, and, if known, the Environmental Law.
             SITE NAME AND ADDRESS        NAME AND ADDRESS OF                     DATE OF NOTICE                ENVIRONMENTAL LAW
                                          GOVERNMENTAL UNIT




None
 ⌧          c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
            respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
            to the proceeding, and the docket number.
             NAME AND ADDRESS OF          DOCKET NUMBER                           STATUS OR DISPOSITION
             GOVERNMENTAL UNIT




            18. Nature, location and name of business

                      a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the business,
            and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
            executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession or other
            activity either full-time or part-time within six years immediately preceding the commencement of this case, or in which
            the debtor owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
            commencement of this case.

                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the business,
            and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting
            or equity securities, within the six years immediately preceding the commencement of this case.

                     If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses,
            and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting
            or equity securities, within the six years immediately preceding the commencement of this case.

None

          NAME                             LAST FOUR          ADDRESS                               NATURE OF             BEGINNING AND
                                           DIGITS OF SOC.                                           BUSINESS              ENDING
                                           SEC NO./                                                                       DATES
                                           COMPLETE EIN
                                            OR OTHER
                                           TAXPAYER
                                           I.D. NUMBER

          Pace Product Solutions, Inc.     XX-XXXXXXX         122 School Street, Yonkers, NY        Auto-Parts            2005 to 07/2008
                                                                                                    Distribution
          Worldwide Flash Auto Parts,      XX-XXXXXXX         122 School Street, Yonkers, NY        Auto-Parts            2008 to 07/2008
          Inc.                                                                                      Distribution

          Mazal Hai Auto Parts, Inc.       XX-XXXXXXX         304 E. 78th St., Apt. 5F, NY, NY      Auto-Parts            1995 to 2004
                                                                                                    Distribution
          VIP Car Service, Inc.            XX-XXXXXXX         304 E. 78th St., Apt. 5F, NY, NY      Car leasing           2005 to 07/2008
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None
 ⌧          b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. '
            101.
             NAME                          ADDRESS




            The following questions [numbers 19 - 25] are to be completed by every debtor that is a corporation or partnership and
            by any individual debtor who is or has been, within six years immediately preceding the commencement of this case, any
            of the following: an officer, director, managing executive, or owner of more than 5 percent of the voting securities of a
            corporation, a partner, other than a limited partner, of a partnership; a sole proprietor, or otherwise self-employed.

            (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business,
            as defined above, within six years immediately preceding the commencement of this case. A debtor who has not been in
            business within those six years should go directly to the signature page.)

            19. Books, records, and financial statements
None
            a. List all bookkeepers and accountants who within the two years immediately preceding the filing of this bankruptcy
            case, kept or supervised the keeping of books of account and records of the debtor.


                               NAME AND ADDRESS                      DATE SERVICES
                                                                     RENDERED
                               Mark Goldberg                         Various dates from 2006 to
                               97 Froehlich Farm Blvd.,              present
                               Woodbury, NY 11797

                               Boaz Bagbag                           Various dates from 2006 to
                               304 East 78th St., Apt. 5F            present
                               New York, NY 10021


None
            b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have
            audited the books of account and record, or prepared a financial statement of the debtor.

                                                                     ADDRESS                                   DATES SERVICES
                               NAME                                                                            RENDERED
                               Mark Goldberg                         97 Froehlich Farm Blvd.,                  Various dates from 2006 to
                                                                     Woodbury, NY 11797                        present


None
            c. List all firms or individuals who at the time of commencement of this case were in possession of the books of account
            or records of the debtor. If any of the books of account and records are not available, explain.
                               NAME                                  ADDRESS
                               Mark Goldberg                         97 Froehlich Farm Blvd.,
                                                                     Woodbury, NY 11797

                               Jason Levine, Esq.                    419 Park Avenue South
                               (some legal records)                  New York, NY 10016

                               Boaz Bagbag                           304 East 78th St., Apt. 5F
                               (no longer in possession of           New York, NY 10021
                               records as specified below)

                               Togut, Segal & Segal                  One Penn Plaza
                               (Ch. 7 Trustee in control of          New York, NY 10119
                               books and records of business
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                                   pursuant to Court Order)


None
 ⌧              d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom a financial
                statement was issued within the two years immediately preceding the commencement of this case by the debtor.
                                   NAME AND ADDRESS                    DATE ISSUED




                20. Inventories
None
                a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of
                each inventory, and the dollar amount and basis of each inventory.
                                                                                                DOLLAR AMOUNT OF INVENTORY (Specify
                  DATE OF INVENTORY           INVENTORY SUPERVISOR                              cost, market, or other basis)

                  07/01/2008                 Boaz Bagbag                                        $1,620,543 (Cost Basis)
                  07/10/2008                 Boaz Bagbag                                        $1,609,024
                  Various dates, inventory kept
                  on continuously running basis

None
                b. List the name and address of the person having possession of the records of each of the two inventories reported in a.,
                above.
                                   DATE OF INVENTORY                                            NAME AND ADDRESSES OF
                                                                                                CUSTODIAN
                                                                                                OF INVENTORY RECORDS
                                   07/01/2008                                                   Boaz Bagbag
                                                                                                304 East 78th St., Apt. 5F
                                                                                                New York, NY 10021

                                   07/10/2008                                                   Boaz Bagbag
                                                                                                304 East 78th St., Apt. 5F
                                                                                                New York, NY 10021


* Boaz Bagbag maintained possession of inventory records until ordered by the Court to turn them over to the Chapter 7 Trustee
in the Pace case. These records are now under the control and in the possession of the Chapter 7 Trustee, Togut, Segal and Segal,
located at One Penn Plaza, New York, NY, and/or the secured creditor, Summa Capital Corp.



                21. Current Partners, Officers, Directors and Shareholders
None
 ⌧              a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
                                   NAME AND ADDRESS                    NATURE OF INTEREST                  PERCENTAGE OF INTEREST



None
 ⌧              b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or
                indirectly owns, controls, or holds, 5 percent or more of the voting or equity securities of the corporation.
                                                                       NATURE AND PERCENTAGE OF STOCK OWNERSHIP
                  NAME AND ADDRESS                    TITLE
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            22. Former partners, officers, directors, and shareholders
None
 ⌧          a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
            preceding the commencement of this case.
                               NAME                                ADDRESS                              DATE OF WITHDRAWAL




None
 ⌧          b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within
            one year immediately preceding the commencement of this case.
                               NAME AND ADDRESS                    TITLE                                DATE OF TERMINATION




            23. Withdrawals from a partnership or distributions by a corporation
None
 ⌧          If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
            compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one
            year immediately preceding the commencement of this case.
            NAME AND ADDRESS OF RECIPIENT,                  DATE AND PURPOSE                       AMOUNT OF MONEY OR
            RELATIONSHIP TO DEBTOR                          OF WITHDRAWAL                          DESCRIPTION
                                                                                                   AND VALUE OF PROPERTY




            24. Tax Consolidation Group
None
 ⌧          If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
            consolidated group for tax purposes of which the debtor has been a member at any time within the six year period
            immediately preceding the commencement of the case.




            NAME OF PARENT CORPORATION                               TAXPAYER IDENTIFICATION NUMBER




            25. Pension Funds
None
 ⌧          If the debtor is not an individual, list the name and federal taxpayer identification number of any pension number to
            which the debtor, as an employer, has been responsibe for contributing at any time within the six-year period
            immediately preceding the commencement of the case.
 NAME OF PENSION FUND                         TAXPAYER IDENTIFICATION NUMBER
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                                                                   ******
[To be completed by individual or individual and spouse]

                  I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and
                  any attachments thereto and that they are true and correct.


Date:    12/01/2008                                             Signature of       /s/ Boaz Bagbag
                                                                Debtor            /S/ Boaz Bagbag


Date:                                                           Signature of       /s/
                                                                Joint Debtor      /S/
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571.

***************
[To be completed on behalf of a partnership or corporation]

I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
thereto, and that they are true to the best of my knowledge, information, and belief.



Date:                                                  /s/
                                                       Signature


                                                      Print Name and Title
[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                                                     ___ Continuation sheets attached
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. '152 and 3571.



                                                              Publisher's Note:

                    The "Declaration and Signature of Non-attorney Bankruptcy Petition Preparer" (see 11 U.S.C. 110)
                           which is required to be signed by a non-attorney bankruptcy petition preparer here,
              has been OMITTED because this product is intended to be used by non-attorney bankruptcy petition preparers.
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